      Case 4:22-cr-00321 Document 1 Filed on 07/06/22 in TXSD Page 1 of 6

                                                                      United States Courts
                                                                    Southern District of Texas
                                                                             FILED
                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS            July 06, 2022
                          HOUSTON DIVISION         Nathan Ochsner, Clerk of Court


UNITED STATES OF AMERICA                    §      CRIMINAL NO.        4:22CR321
                                            §
v.                                          §
                                            §
KENNETH ANIM                                §

                                  INDICTMENT

THE GRAND JURY CHARGES:

INTRODUCTION

At all times material to this Indictment:

1.    The defendant, KENNETH ANIM (“ANIM”), resided in Houston, Texas,

and in Ghana.

2.    The defendant, ANIM, individually and through businesses in

his name and in the name of a co-conspirator, operated as an unlicensed money

transmitting business as outlined in 18 United States Code Section 1960(b)(1). An

unlicensed money transmitting business affects interstate and foreign commerce in

any manner and degree and fails to comply with money transmitting business

registration requirements under Title 31, United States Code, Section 5330, and the

regulations prescribed under such section, including 31 C.F.R. Sections 1022.100-

1022.670.

3.    The defendant, ANIM, individually and through shell businesses that

                                            1
      Case 4:22-cr-00321 Document 1 Filed on 07/06/22 in TXSD Page 2 of 6




existed only on paper, operated as a money transmitter as outlined in 18 United

States Code Section 1960(b)(2). Money transmitting includes transferring funds

on behalf of the public by any and all means, including, but not limited to, transfer

within the United States and to locations abroad by wire, check, draft, facsimile,

and courier.

4.       A money mule is a person who transfers illegally acquired money on

behalf and at the direction of others. Money mules often receive a payment for

providing their services.

5.    ANIM individually and through businesses he formed himself and with a

co-conspirator whose initials are “AD,” operated as a money mule related to

various mail and wire fraud schemes occurring within the United States. These

mail and wire fraud schemes included, among others, internet frauds and romance

scams.

6.    ANIM opened and maintained bank accounts within the United States,

collected the proceeds from mail and wire fraud schemes committed within the

United States, and then transmitted the money to himself, to co-conspirators, and

overseas.

7.    During the scheme, ANIM and co-conspirator AD opened numerous bank

accounts. Banks closed numerous accounts after reviewing the activity, and at

least one bank directly informed ANIM the account was being closed because of

                                          2
      Case 4:22-cr-00321 Document 1 Filed on 07/06/22 in TXSD Page 3 of 6




fraud, in violation of the bank’s Deposit Account Agreement. Despite the repeated

closure of bank accounts, ANIM would open new bank accounts that enabled him

to receive proceeds from the fraud schemes being perpetrated against victims

throughout the United States. ANIM directly received proceeds from fraud

schemes by having the fraud proceeds deposited into bank accounts he controlled.

                                  COUNT ONE
           (Conspiracy to Commit Money Laundering, 18 U.S.C. § 1956(h))

8.     From at least in or about 2014 up to and including in or about 2019, in the

Southern District of Texas and elsewhere, ANIM, the defendant, and others known

and unknown, intentionally and knowingly did combine, conspire, confederate, and

agree together and with each other to violate Title 18, United States Code, Section

1956(a)(1)(B)(i).

9.     It was a part and an object of the conspiracy that ANIM, the

defendant, and others known and unknown, knowing that the property involved in

certain financial transaction represented the proceeds of some form of unlawful

activity, would and did conduct and attempt to conduct such financial transactions,

which in fact involved the proceeds of specified unlawful activity, to wit, proceeds

of mail and wire fraud offenses, in violation of title 18, United States Code,

Sections 1341 and 1343, knowing that the transactions were designed in whole and

in part:


                                          3
        Case 4:22-cr-00321 Document 1 Filed on 07/06/22 in TXSD Page 4 of 6




      (1) to conceal and disguise the nature, the location, the source, the ownership,

         and the control of the proceeds of the specified unlawful activity, in

         violation of Title 18, United States Code, Section 1956(a)(1)(B)(i), and;

      (2) to engage in monetary transactions in criminally derived property of value

         greater than $10,000 and derived from the specified unlawful activity, in

         violation of 18 United States Code, Section 1957(a).

         All in violation of Title 18, United States Code, Section 1956(h).

                                 COUNT TWO
             (Unlicensed Money Transmitting Business, 18 U.S.C. § 1960)

10.      Paragraphs 1 – 7 of the Introduction of this Indictment are re-alleged and

incorporated by reference as though fully set forth herein.

11.      From at least in or around 2014, and continuing through in or around 2019,

in the Southern District of Texas and elsewhere, the defendant,

                                  KENNETH ANIM,

together with others known and unknown to the Grand Jury, knowingly conducted,

controlled, managed, supervised, directed, and owned all and part of an unlicensed

money transmitting business, having failed to comply with the money transmitting

business registration requirements under 31 United States Code Section 5330, and

regulations prescribed under such section.

         All in violation of 18 United States Code Section 1960.


                                            4
      Case 4:22-cr-00321 Document 1 Filed on 07/06/22 in TXSD Page 5 of 6




                          COUNTS THREE – FIVE
              (Money Laundering Spending Statute, 18 U.S.C. § 1957)

12.   Paragraphs 1 – 7 of the Introduction of this Indictment are re-alleged and

incorporated by reference as though fully set forth herein.

13.   From at least in or around 2014, and continuing through in or around 2019,

in the Southern District of Texas and elsewhere, the defendant,

                                KENNETH ANIM,

together with others known and unknown to the Grand Jury, knowingly engaged,

and attempted to engage, in a monetary transaction in the United States, in

criminally derived property of a value greater than $10,000, as described in the

table below, which was derived from specified unlawful activity, that is mail and

wire fraud.

      COUNT               AMOUNT                   DATE             ACCOUNT

         3           $60,490                  11-30-2017          Amegy X2730

         4           $86,170                  1-11-2018           Amegy X2730

         5           $61,491                  1-22-2018           Amegy X2730



      All in violation of Title 18, United States Code, Section 1957




                                          5
      Case 4:22-cr-00321 Document 1 Filed on 07/06/22 in TXSD Page 6 of 6




                    NOTICE OF CRIMINAL FORFEITURE
                              18 U.S.C. § 982

      Pursuant to Title 18, United States Code, Section 982(a)(1), the United

States gives notice to the defendant,

                                  KENNETH ANIM,

that in the event of conviction of the offenses charged in Counts 1 through 5 of this

Indictment, the United States intends to seek forfeiture of all property, real or

personal, involved in such offense, or any property traceable to such property.

                     Money Judgment and Substitute Assets

      The United States will seek the imposition of a money judgment against

each defendant. In the event that a condition listed in Title 21, United States Code,

Section 853(p) exists, the United States may seek to forfeit any other property of

the defendants in substitution.

                                        A TRUE BILL:



                                        __________________________________
                                        FOREPERSON OF THE GRAND JURY

JENNIFER B. LOWERY
United States Attorney

By:   _______________________
      Belinda Beek
      Grace Murphy
      Assistant United States Attorneys
                                           6
